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                                     UNITED STATES DISTRICT COURT
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                                    CENTRAL DISTRICT OF CALIFORNIA
   10
      JANE AD52-A DOE; and JANE CD53-A                      Case No.: 2:21-cv-05966-SPG-JEM
   11 DOE, individuals,

   12                 Plaintiffs,                           Hon. Sherilyn Peace Garnett
   13         v.
   14                                                       ORDER TO REMAND CASE TO STATE
        COUNTY OF LOS ANGELES, a
        governmental entity; CRITTENTON                     COURT
   15
        SERVICES FOR CHILDREN AND
   16   FAMILIES GROUP HOME; DEPUTY                         Trial Date: None
        PROBATION OFFICER ERNEST WALKER,
   17   an individual; DEPUTY PROBATION
        OFFICER JEFFREY ECKLER, an individual;
   18   DEPUTY PROBATION OFFICER DAVID
        GLASBY, an individual; JOHN EVANS, and
   19   individual; and DOES 1 through 500,

   20                  Defendants.

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   22         Pursuant to the Stipulation of the parties, and good cause appearing, it is hereby ordered
   23 that this action is remanded back to state court, Los Angeles Superior Court, Case Number

   24 21STCV16513.

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        Dated: 1RYHPEHU                    ____________________________________
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   26                                               HON. SHERILYN PEACE GARNETT
                                                    UNITED STATES DISTRICT JUDGE
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